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WESTERN DISTRICT OP LOUISIANA
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      JUN 0 8 W UNITED STATES DISTRICT COURT
      WY^OOR/CLERK WESTERN DISTRICT OF LOUISIANA

           DfiPtlTY
       ^IN RE: ATTORNEYS OF CASE NO. 3:23-MC-0062
        MCCLENNY MOSELEY & ASSOCIATES
        PLLC
                                                                 JUDGE TERRY A. DOUGHTY

                                                     ORDER

                 On March 3, 2023, a "Memorandum Order" was issued by this Court suspending


        attorneys from McClenny Moseley & Associates PLLC ("MMA") for ninety days for

       misconduct in the United States District Court, Western District of Louisiana. The time frame for


       these suspensions has expired but this Court continues to find that the suspensions of the MMA


       attorneys are necessary to protect the interest of clients in the Western District of Louisiana.


       Therefore, in accordance with LR83.2.10(B)(3 ) and the unanimous vote of the Article III judges

       of the Western District of Louisiana, this court extends the suspensions previously imposed on


       MMA attorneys.


                This Court gives notice to the attorneys ofMMA that they may individually request a

       hearing on these suspensions within 15 days of this Order. Any attorney who does not seek a


       hearing within the time frame will be deemed to have waived that right and the extended

       suspensions are effective as of the date of this Order.


                Accordingly,

                IT IS ORDERED that notice is given to the following attorneys from McClenny

       Moseley & Associates PLLC extending previously imposed suspensions from the practice of law


       in the United States District Court, Western District of Louisiana, as follows:


                      • John Moseley, LAWD Temporary Id No. 917563, suspended one (1)year;

                      • R. William Huye, III, Louisiana Bar No. 38282, suspended one (1) year;
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              • Cameron Sean Snowden, Louisiana Bar No. 35333, suspended nine (9) months;


             • Claude Favrot Reynaud, III, Louisiana Bar No. 31 534, suspended nine (9)


                 months;


             • Grant P. Gardiner, Louisiana Bar No. 39888, suspended six (6) months; and


             • James McClenny, LAWD Temporary Id No. 917564, suspended six (6) months.


       IT IS FURTHER ORDERED the attorneys listed above from McClenny Moseley &

Associates PLLC are given 15 days from the date of this Order to seek an opportunity to be

heard regarding these suspensions. Any attorney who does not seek an opportunity to be heard


regarding the extension of the suspensions, will be deemed to have waived that right and the


suspensions are effective as of the date of this Order.


       THUS DONE AND SIGNED in Chambers on this D"-1 day of June, 2023.




                                                     TERRY A. DOtJGHT^ CHIEF JUDGE
                                                      UNITED STATES DISTRICT COURT
